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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TIAWAN BRITTON,                         )
                                        )
      Plaintiff,                        )
                                        )       CIVIL ACTION
v.                                      )
                                        )       FILE No. _____________________
ELEXIS PROPERTIES INC.,                 )
                                        )
      Defendant.                        )

                                    COMPLAINT

      COMES NOW, TIAWAN BRITTON, by and through the undersigned

counsel, and files this, his Complaint against Defendant ELEXIS PROPERTIES

INC. pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                           JURISDICTION AND VENUE

      1.       This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.       Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                       PARTIES

       3.       Plaintiff TIAWAN BRITTON (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

       4.       Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

       5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

       6.       Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.       Defendant ELEXIS PROPERTIES INC. (hereinafter “Defendant”) is

a Georgia corporation, and transacts business in the state of Georgia and within

this judicial district.

       8.       Defendant may be properly served with process via its registered

agent for service, to wit: Charles E. Williams, 1107 Ralph David Abernathy

Boulevard, Suite 106, Atlanta, Georgia, 30310.

                             FACTUAL ALLEGATIONS

       9.       On or about November 16, 2021, Plaintiff was a customer at “LT New


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Orleans Seafood,” a business located at 585 Joseph E. Lowery Boulevard, Atlanta,

Georgia 30310.

      10.    Defendant is the owner or co-owner of the two adjoining parcels of

real property and improvements that are the subject of this action. (The two

separate structures and improvements situated upon said two adjoining parcels of

real property are referenced herein as the “West Facility” and the “South Facility”

(together, the “Facilities”), and said two parcels of real property shall be referenced

together herein as the “Property”).

      11.    Plaintiff lives approximately eleven (11) miles from the Facilities and

Property.

      12.    Plaintiff’s access to the businesses located at 573 and 583 Joseph E.

Lowery Boulevard, Atlanta, Georgia 30310 (of which 585 Joseph E. Lowery

Boulevard is a part, and also referenced as Fulton County Property Appraiser’s

parcel numbers 14 011700081043 and 14 011700081050), and/or full and equal

enjoyment of the goods, services, foods, drinks, facilities, privileges, advantages

and/or accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Facilities and Property, including those set forth in


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this Complaint.

      13.    Plaintiff has visited the Facilities and Property at least once before and

intends on revisiting the Facilities and Property once the Facilities and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facilities and Property to purchase

goods and/or services.

      15.    Plaintiff travelled to the Facilities and Property as a customer and as

an advocate for the disabled, encountered the barriers to his access of the Facilities

and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at the Facilities and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

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      19.   Each Facility is a public accommodation and service establishment.

      20.   The Property is a public accommodation and service establishment.

      21.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.   Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.   Each Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.   The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facilities and the Property in his capacity as a customer of the Facilities and

Property, and as an advocate for the disabled, but could not fully do so because of


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his disabilities resulting from the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit his access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      27.    Plaintiff intends to visit the Facilities and Property again in the very

near future as a customer and as an advocate for the disabled in order to utilize all

of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facilities and Property, but will be unable to fully do so

because of his disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit his access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities


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and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.      Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.

      30.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      a.       The total number of accessible parking spaces on the Property

               complying with section 502 of the 2010 ADAAG standards is

               inadequate, in violation of section 208.2 of the 2010 ADAAG

               standards.

      b.       The signage for the accessible parking space on the Property

               most proximate to the West Facility is not installed at a

               permissible height, in violation of section 502.6 of the 2010


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         ADAAG standards.

c.       The accessible parking space on the Property most proximate to

         the West Facility and its adjacent access aisle are each not

         adequately marked, in violation of sections 502.1 and 502.3 of

         the 2010 ADAAG standards.

d.       The access aisle adjacent to the accessible parking space on the

         Property most proximate to the West Facility is not level due to

         the presence of a ramp within the boundaries of said access

         aisle, in violation of section 502.4 of the 2010 ADAAG

         standards.

e.       The walking surfaces of the accessible route on the Property

         along the West Facility have a cross-slope in excess of 1:48

         (one to forty-eight), in violation of section 403.2 of the 2010

         ADAAG standards, and numerous vertical rises in excess of ¼”

         (one quarter inch) in height, also in violation of section 403.2 of

         the 2010 ADAAG standards.

f.       Due to a lack of parking stops that encourage vehicles to pull

         up far enough to block the accessible route to the entrances of

         the West Facility, there are publicly accessible areas of the


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         Property having accessible routes with clear widths below the

         minimum 36” (thirty-six inches) inches required by section

         403.5.1 of the 2010 ADAAG standards.

g.       The ramp located at the southern end of the West Facility lacks

         finished edges (or edge protection), in violation of section 405.9

         of the 2010 ADAAG standards.

h.       The Property lacks an accessible route connecting the West

         Facility and South Facility, in violation of section 206.2.2 of the

         2010 ADAAG standards.

i.       The signage for the accessible parking space on the Property

         most proximate to the South Facility is entirely worn away and

         not visible, in violation of section 502.6 of the 2010 ADAAG

         standards.

j.       The accessible parking space on the Property most proximate to

         the South Facility is not adequately marked, in violation of

         section 502.1 of the 2010 ADAAG standards.

k.       The accessible parking space on the Property most proximate to

         the South Facility does not have an access aisle adjacent to it, in

         violation of section 502.3 of the 2010 ADAAG standards.


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l.       When vehicles are parked at the South Facility there is no

         accessible route from the accessible parking space most

         proximate to the South Facility to the accessible entrances of

         the South Facility, requiring disabled patrons to travel within

         the vehicular way to gain such access, in violation of section

         206.2.1 of the 2010 ADAAG standards.

m.       The walking surfaces of the accessible route on the Property

         along the South Facility have a cross-slope in excess of 1:48

         (one to forty-eight), in violation of section 403.2 of the 2010

         ADAAG standards,

n.       The ground surface within the required maneuvering clearances

         at the entrances to the tenant spaces of the South Facility each

         have improper changes in level, in violation of section

         404.2.4.4 of the 2010 ADAAG standards.

o.       The Facility and Property have not been adequately maintained

         in operable working condition for those features of facilities

         and equipment that are required to be readily accessible to and

         usable by persons with disabilities, in violation of section 28

         C.F.R. § 36.211.


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      p.     Upon information and good faith belief, Defendant fails to

             adhere to a policy, practice and procedure to ensure that all

             features and facilities at the Facility and Property are readily

             accessible to, and usable by, disabled individuals.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to locate and utilize an accessible parking space

on the Property, and more difficult and dangerous for Plaintiff to travel upon the

accessible routes on the Property.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facilities and Property.

      33.    Plaintiff requires an inspection of Facilities and Property in order to

determine all of the discriminatory conditions present at the Facilities and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify


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to bring the Facilities and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facilities and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.


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      42.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facilities and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facilities and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: December 2, 2021.

                                      Respectfully submitted,


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                                    /s/Craig J. Ehrlich
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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